                             UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NORTH CAROLINA
                                  SOUTHERN DMSION

                                        NO.7: 09-CR-126-2-F



UNITED STATES OF AMERICA                         )
                                                 )
               v.                                )
                                                 )
JOSE JOAN CRUZ-SANTENDER,                        )
             Defendant.                          )




               The defendant has completed his evaluation as ordered by this court on

December 29,2009 [DE-80], and an evaluation report has been prepared. This case is set for

competency determination and arraignment during this court's July 19,2010, term of court.

The court notes that a number of pre-trial motions still are pending that were held in abeyance

by the order of December 29 th • Although the Government has not responded to those motions,

they are ripe, and are adjudicated as follows:

               Jose Cruz-Santender's Motions for Release of Brady Materials [DE-73] and for

Favorable Evidence [DE-74] are ALLOWED. To the extent the Government has not done so

already, it is DIRECTED immediately to produce any potentially favorable evidence l as required

by Brady v. Maryland, 373 U.S. 83 (1963), Giglio v. United States, 405 U.S. 150 (1972), and

their progeny. As to any such material which the Government seeks to withhold, the

Government contemporaneously shall produce for examination by the undersigned in camera a



                                   1      "Favorable evidence" includes evidence tending to
exculpate the defendant, as well as any evidence adversely affecting the credibility of the
Government's witnesses. See United States v. Bagley, 478 U.S. 667, 676-77 (1985); Giglio v.
United States, 405 U.S. 150, 153-55 (1972).


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privilege log generally describing the nature of such evidence, and shall show cause in writing

why it has been withheld. The burden shall remain on the Government to demonstrate that the

material is not subject to disclosure as herein ordered.

               To the extent that the Government has not already produced statements made by

the defendant as required by Rule 16(a)(1)(A), Fed. R. Crim. P., Cruz-Santander's Motion for

Inculpatory Statements [DE-75], is ALLOWED. To the extent he seeks early disclosure of

statements made by alleged co-conspirators who are expected to testify as Government

witnesses at trial [DE-77], or early production of grand jury testimony, those motions are

DENIED, as such disclosures are governed by the Jencks Act. However, to the extent that the

defendant seeks disclosure of statements made by alleged co-conspirators who are not

prospective Government witnesses, that motion is ALLOWED, and the Government is

ORDERED to produce any such statements, provided that such disclosure would not

unnecessarily reveal sensitive information.

               The defendant's Motion to Sequester Witnesses [DE-76] at trial is ALLOWED.

               SO ORDERED.

               This, the 15th day of July, 2010.




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